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USDC - SDWV - Beckley Division
110 N. Heber St. No. 119 |
Beckley, West Virginia

THEAFEFEREFE EEE EEE EEE ETE PEE HHH te tte
Parrish

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Sauthern Dis

V.

 

Several John Doe
United States Bureau of Prisons
Federal Correctional institute at
Beckley Staff

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BIVENS ACTION

Jurisdiction:
* 1, XIVth and XXlind Amendments of the US Bill of Rights;

US RFA, most recent recodification;

* Other statutes and caselaw to be determined. Plaintiff reserves the right to pursue any and all other statutory avenues
and remedies in the pursuit of this prosecution as may appear reasonable in the course of prosecuting the instant action;

Comes now the Plaintiff in the above styled matter and declares the following:
|, Maurice Parrish, am the Plaintiff in this matter;

One to several John Doe BOP staff, known and unknown to me at this time, hereinafter referred to as "Staff" are the
defendants. One such staff may be the perpetrator, and others may have conspired to cover up his or her invoivement;

A Qu'ran was recently mailed to me, here at FCI Beckley;

It was put into my hands directly by FCI Staff. Upon receipt of this Qu'ran | determined that it had already been defaced
with blasphemous graffiti insulting Mohammed the Messenger, my religion, my religious faith practice,
and myself (Exhibit A); CA€£odayik, 4 Suly zor 4) 3

| am uncertain of its relevance but nevertheless in an abundance of desire to cooperate with the Court in this matter |
unilaterally proffer that | do not support violence of any kind against the United States of America, my home and birthplace, and
the home and birthplace of all my family, many generations. | am a practicing Muslim and pleased to be a US citizen. | also
understand the service of, and am grateful for military personnel that protect the United States abroad.

Initial Discovery and In Limine

 
 

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A. request the Court to order Opposing counsel to provide to me the names, titles and schedules and work detail postings
of all staff who had and have access to mail, including but not limited to:
1. allR &D mailroom staff (R & Dis the regular mailroom);
2. all "warehouse" staff who handle mail as it comes and goes from and to USPS proper;

3. all staff which supervises same;

=

all staff which administrates the supervisors.
| reserve the right to pursue different channels of discovery with the Court and opposing counsel, as the need for such
different channels may devolve from initial discovery in an appropriate search for culpability and liability. Other possible
channels could exist but Plaintiff believes that ruling out of the above possibilities is the most efficient use of judicial resources
in the initial phases of discovery in the instant matter;
Judgments, Awards and Penalties

A. It is not my purpose to enrich myself from this endeavor, rather, to prevent future occurrences. If the Court feels there
is an alternative to a dollar amount punitive damage, | would be grateful to hear it. Until then, | hereby request $ 750,000
damages for this tort to me to help establish the gravity of the insult and to prevent reoccurrence.

B. As the Court knows, preventing reoccurrence is only one element of this action. Justice in se for the tort is another
component.

C. | also hope to pursue with counsel the threshold separating civil and criminal penalties. Part of my pursuit if this will
include contact with the US Civil Rights Commission of the US Congress and also that of the US Department of Justice.

D. Retraining of all BOP staff as to the emphasis and particulars of the RFA as it applies especially to inmates in the BOP.
PRAYER

A. discovery, as supra;

B. Various in limine motions to be pursued;

C. Any and all other relief the Court deems appropriate.

 

Most Sincerely, ) "e 220536086
/\ Maurice Parrish 47 i, potimR ( v
FCI Beckley
Box 350

Beaver, WV 25813

 
 

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Affidavit of Maurice Parrish

1. 1, Maurice Parrish, an an inmate at FCI Beckley;
2. On Tuesday, June 11, 2019 | came in from work detail at 7:30 p.m.;

. 3. Upon me getting ready to take a shower, inmate John Doe No. 1 told me that my name was called for mail and that it
was my Qu'ran from Message America, Arab. | had previously contacted them at CKaroub@ aol.com;

4. | went to the dorm officer which was Officer John Doe No. 2 at this date in time to get my book and he gave it to me;
5. | went back to my cell and put it up in my locker and locked my locker before the shower;

6. After my shower was count and during that time was the first chance | had to look at the Qu'ran and flipped through it.
That is when I noticed that it had foul language written in it (Exhibit A);

7. On the 12th of June 2019 | spoke with the Chaplain which was Mr. Weaver and also the Warden which was Mr. Young
and they both said there was no way that an office here could shave written that. Fortieth, that if they found out who did it they
were going to the hole;

8. On the 13th of June | made copies of the pages written on (Exhibit A);

9. On the 17th of June | spoke to SIS officer John Doe No. 3 and the Captain and showed it to them and they also said
there is no way an officer here did that.

| declare and affirm pursuant to 18 USC Section 1746 and under the penalties and pains of perjury of the laws of the State of
West Virginia and theU.S. Code that the foregoing is true and correct.

oy .
Wheseier- Fah # 63208 - 056

FCI Beckley Executed at Beaver
Box 350
Beaver, WV 25813 4 July 2019

 
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art 8 A epi

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Shaitén (Satan)]. AM AKG IE
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and the raiment {4 ZS 36 Sys gl
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woofs, evidences, sed tsi
revelations, etc.)
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a naked state.

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fell with you 4. .
(“And O Adam! Bwell you’and your £23 ais Ghat tees
4 . :

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jhervise you bgth will be of the G35.8/3.056
Zilimiin (unjust ahd wrongdoers),” ; ceeee oe
M.Then Shaitdn (Satan) whispere@ 4G. 505A 34.5
suggestions to hem [npsfter to iyo ae te eaten tae
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tem of their private parts (before); he (Ala 22Sj gc
sid: “Your Lord did not forbid you - eu 4 eer ag
his tree save you shpuld become HES IES al

 
 
   
 
 
         

 
 
   
 

 

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im one of the sincere well-wishers for Oct
you both.”

 
  
 

2.So he misled them with deception.

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oe its 2) gos.
temselves with the leaves of Paradise ~~ A ae ?
i order to cover their shame). And i TS hye (Ss
tir Lord called out to them (saying): gy "4 eq cay
‘Did I not forbid you that tree and tell Day eS

   

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Exlibir A 2
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Exh lg iy A 2
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Certificate of Service

| the undersigned affirm that | enclosed a true copy of

Bivins Action and Affidavit

In an envelope mailed from the below address with proper postage affixed and addressed to:

USA - SDWV
300 Virginia St E
Charleston WV 25301

| hereby declare and affirm pursuant to 18 US Code Section 1746 and under the penalties and pains of the laws of perjury of
Ye State of West Virginia and the US Code that the foregoing is true and correct

‘Maurice Parrish Morne Gel 63 ZO JOSE

FCI Beckley Executed at Beaver
Box 350

Beaver, WV 25813 July 2019
63208-0569
Maurice Parish
63208056 Beckley
Federal Correctional Institution
P.O. Box 350

Beaver, WV 25813
United States

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Ruddy Usde Sdw Beckley DIV{SION
Room 119
110 N Heber ST
Beckley, WV 25801
United States

 

 

 
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